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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                         PORTLAND DIVISION

   GDLBERTO ALTAIVHRANO,
   ARMANDO PALMENO; and MARCO                                   £U '11 ~ 1 552 "* AC M
                           Plaintiffs,                                          COMPLAINT
                           v.                           Fair Labor Standards Act (29 U.S.C. §
                                                          201 et seq.); Oregon Wage and Hour
   MUNOZ CONSTRUCTION, LLC, an                                           Laws; ORS § 701.128
   Oregon limited liability company; and                                           m.rr¥mTi¥
   JUAN MUNOZ individually;                                     DEMAND FOR JURY TRIAL
                           Defendants.



                                  PRELIMINARY STATEMENT


         1.       Gilberto Altamirano, Armando Palmeno, and Marco Serrano ("Plaintiffs") bring

 this action against Munoz Construction, LLC ("the LLC") and Juan Munoz under the federal Fair
 Labor Standards Act, 29U.S.C. § 201, etseq., ("FLSA") for unpaid wages. Plaintiffs seek

 overtime wages due to them under 29 U.S.C. §§ 207 and 216(b), and liquidated damages and
 attorney fees under 29 U.S.C. § 216(b).

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       2.       Plaintiffs also allege unpaid wages, penalty damages and attorneys' fees under
Oregon statutes (Or. Rev. Stat. §§ 652.140,652.150,652.200,652.610,652.615, and 653.261)
against Defendants.

       3.       Plaintiff Gilberto Altamirano further brings a claim under ORS § 701.128 for

damages caused by misrepresentations made by Defendant Juan Munoz concerning Altamirano's
status as a construction contractor.

                                         JURISDICTION


       4.       Jurisdiction for the FLSA claimsexists under 29 U.S.C. § 216(b). Jurisdiction

also exists under 28U.S.C. § 1337 for claims arising under a federal statute regulating

commerce.



        5.      The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over the Oregon

state claims because the state claims are so related to the federal claims as to form partof the

same case orcontroversy under Article JU ofthe United States Constitution.

                                             PARTIES


        6.       Gilberto Altamirano, Armando Palmeno, and Marco Antonio Serrano are natural

 persons who were employed by defendants to frame houses at 15623 SW Raphael Lane, Tigard
 OR, and at 20821 SW Edgemont St., Beaverton, OR.

        7.'      Defendant Munoz Construction, LLC, is an Oregonlimited liabilitycompany

 whose principal place ofbusiness is presently located in Cornelius, Oregon. The LLC jointly
 employed plaintiffs to frame houses at 15623 SW Raphael Lane, Tigard OR, and 20821 SW
 Edgemont St., Beaverton, OR.

         8.      At allmaterial times, Juan Munoz, was the sole member andmanager of theLLC.


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Munoz managed the employment ofplaintiffs on behalfofthe LLC in the construction ofhouses
at 15623 SW Raphael Lane, Tigard OR, and 20821 SW Edgemont St., Beaverton, Oregon.
                                              FACTS


        9.      Defendants employed Plaintiffs Gilberto Altamirano, Marco Antonio Serrano and
Armando Palmeno to frame a house at 15623 SW Raphael Lane, Tigard OR, between April 7,

and April 20,2010.

        10.     Defendants employed Plaintiffs Gilberto Altamirano and Armando Palmeno to

frame a house at20821 SW Edgemont St., Beaverton, Oregon, between June 3, and June 22,

2010.


        11.     Plaintiffs worked the following number ofhours for defendants between April 7,

2010 and June 22,2010:

                a.      Gilberto Altamirano           374

                b.      Marco Antonio Serrano         187

                c.      Armando Palmeno               374

         12.     Plaintiffs worked the following number ofhours in excess of40 hours a week for

 defendants betweenApril 7,2010 and June 22,2010:

                 a.     Gilberto Altamirano           112

                 b.     Marco Antonio Serrano         56

                 c.     Armando Palmeno               112

         13.     Plaintiffs have received payment for the work onthe two houses referred to above

 in the following amounts:

                 a.     Gilberto Altamirano           $2,800


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                b.     Marco Antonio Serrano          $ 700

                c.     Armando Palmeno                $1,400

       14.      Plaintiffs were employed by defendants in interstate commerce.

                                     CLAIMS FOR RELD2F


                     (First Claim - Violation of 29 U.S.C. § 207 (overtime))

       15.      Each ofthe plaintiffs worked more than forty hours per week in certain work

weeks between April 7,2010 and June 22,2010.

       16.      The FLSA, 29 U.S.C. §207, requires Defendants topay Plaintiffs time and ahalf

for time worked in excess of forty hours per week.

       17.      Plaintiffs were not paid time and a half for time worked inexcess offorty hours

per week.

       18.      Under 29 U.S.C. §216(b), Plaintiffs are entitled to damages inthe amount oftheir
respective unpaid overtime wages and an amount equal to the unpaid overtime wages as

liquidated damages.

        19.      Plaintiffs are entitled to theircosts andreasonable attorney fees pursuant to 29

U.S.C. § 216(b).

                (Second Claim -Violation ofORS §653.261; OAR839-020-0030)
        20.      Atall relevant times, Defendants were "employers" within the meaning of ORS

§§ 653.010, etseq.

        21.      ORS §653.261 and OAR 839-020-0030 require Defendants to pay Plaintiffs time

 and a half for time worked in excess of 40 hours per week.

        22.      Plaintiffs are each entitled, pursuant to ORS § 653.055, to penalty wages inthe

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amount of 240 times their hourly rate ofpay.

       23.       Plaintiffs are entitled to costsand reasonable attorney fees pursuant to ORS §

653.055.


                      (Third Claim - Violation of ORS § 653.025,653.055)

       24.       ORS § 653.025 requires Defendants topay Plaintiffs atan hourly rate equal to or

exceeding Oregon's minimum wage.

       25.       Plaintiffs did not receive at least the minimum wage for their work for

Defendants.

       26.       Plaintiffs are entitled to unpaid minimum wages, penalty damages, costs and

reasonable attorney fees pursuantto ORS § 653.055.

                           (Fourth Claim - Violation of ORS § 652.140)

        27.      ORS § 652.140 provides that all wages that have been earned but not paid become

due and payable no later than at the next regularly scheduled payday after employment has
terminated, or earlier if the employee was discharged or terminated by mutual agreement.

        28.      Defendants' nonpayment of wages was willful.

        29.      Plaintiffs are entitled to damages in the amount of their respective unpaid wages,

 and waiting time penalties under ORS §§ 652.140 and 652.150.

        30.       Plaintiffsare entitledto costs and reasonable attorney fees pursuant to ORS §§

 652.200(2) and 652.150.

                         (Fifth Claim - ORS § 701.128)

           31.    On August 23,2010, and atother times, Defendant Juan Munoz, inhis capacity
 representing the LLC, made false and misleading statements, inter alia, that Plaintiff Gilberto

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Altamirano was acting as aconstruction contractor, had represented to Munoz that he was
licensed and had been the employer ofthe other workers who were employed by defendants on

the subject construction.

       32.      These statements were false andmisleading, andwere known by Munoz to be

false and misleading.

       33.      As a result of these statements byMunoz, Plaintiff Altamirano has been charged

with violating laws of the State of Oregon.

        34.     As a further result of the conduct alleged above, Plaintiff Altamirano has suffered

inconvenience, embarrassment, humiliation andgreat mental anguish.

        35.     ORS § 701.128 entitles PlaintiffAltamirano to recover his damages, costs and

attorneys' fees.

                                         PRAYER FOR RELIEF

        WHEREFORE, Plaintiffsrequestjudgment as follows:

                   1.   Declare that Defendants have violatedthe Fair Labor Standards Act and

applicable Oregon law by failing to pay wages to Plaintiffs, as alleged;
                   2.   Award Plaintiffs damages as a resultof Defendants' failure to pay wages

                        to Plaintiffs, including liquidated damages andpenalties;

                   3.   Award Plaintiffs pre-judgment and post-judgment interest, as provided by

                        law;

                   4.   AwardPlaintiffsthe cost of maintaining this suit, includingreasonable

                        attorney fees




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          5.     Award Plaintiff Altamirano $20,000 in damages for emotional distress;

                 and


          6.     Grant such other relief as this Court deems just and proper.



    DATED this 27th day December, 2011.



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